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§,\o 442 ti<¢t-, 01/0<)> ,\m~st warrant

 

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UNITF,D STATES DISTRICT COUR'I‘
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' Middle District of Pennsylvania

Unitcd States of Amcrica )
v. )
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§ JAMES C BELCHER § Case No. l.06 C R 0134 01
l)efcndanl l )
ARREST WARRANT
g'lo: Any authorized law enforcement officer
Y()U ARE COMMANDF.D to arrest and bring before a Llnitcd States magistratc_iudge without unnecessary delay
(rmme of/)cr,\'nn lo be cu'rusled} ,

who is accused ol`an offense or violation based on the following document filed with the cout't:

t'] indictment 53 Superse<llnglndictmcnt CJ lnformalion ij Superseding,Int"ormation !'_',l Complaint

l;:l l’rol);ttion Violm§on Petitlon X Supervised Relcase \/iolzztion Petition DViolzttion Notlce Cl Order Oltltc Court

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Dalc:

'l`lzis ol"l`cnse is briefly described as l`c>llows:

§ \/iolations of Condltions of Supervised Rclensc

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City and stzltc: l‘larrisb_urg, l’ennsylvania Mark J. Armbruster

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Rctu rn

'l`l\is warrant was received on (zlme,) Jg,é 314 ;,,,q¢{_ _V _. , and the person was arrested on (dme) J'K.~. qu guy

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